                             House State Government Committee
                            Public Hearing on Non-citizens Voting
                                      October 25, 2017
                                           9:00 AM
                                     Room 60 East Wing
                     Written Testimony of Jonathan Marks, Commissioner
                      Bureau of Commissions, Elections and Legislation
                              Pennsylvania Department of State

Thank you, Chairman Metcalfe, Minority Chairman Bradford, and members of the committee
for allowing the Department of State to submit written comments and testify for the record on
non-citizens voting and list maintenance.
The maintenance and accuracy of Pennsylvania’s voter registration database is extremely
important. The Department of State (Department) is committed to using reliable tools that
advance the goal of increasing that accuracy. I can assure you the Department is actively
reviewing the matter of registrations by non-citizens, including considering options to enhance
and improve the voter registration and list maintenance process.
The Department has begun to review the data on this issue. However, to the extent that the
Department uses computerized data matching, it must ensure that the process used
demonstrates a critical level of accuracy and a sound methodology that results in high-
confidence matches, so that we do not risk disenfranchising eligible voters. Data alone –
particularly point-in-time data like that available from the Systematic Alien Verification for
Entitlements (SAVE) Program – is not in and of itself a reliable indicator that a person is not a
U.S. citizen. The data must be reliable or eligible registered voters, including those who became
naturalized citizens, could be removed from the voter rolls. Mistakes in matching mean we are
disenfranchising eligible voters.
The Department undertook an analysis of the statewide voter registration database to
determine whether ineligible residents were registering and voting. We are using this analysis
as a starting point to examine every part of the voter registration process.
In our initial analysis of statewide records, we found 1,160 records that indicate a registrant
apparently self-reported and cancelled their registration because they were not citizens. The
following are statistics relevant to our initial findings. However, please keep in mind that even
this data must be further validated with the counties to ensure its accuracy.
           o Approximately 79% (912) never voted.
           o Approximately 21% (248) individuals had voted at least 1 time. Of those 248:
                ▪ 134 voted 1 time
                ▪ 51 voted 2 times
                ▪ 63 voted 3 or more times
                ▪ Total ballots cast by the 248 individuals: 642
           o The 1,160 records identified were from 46 counties.

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           o The 248 registrants with records showing they voted at least one time before
             cancelling were from 30 counties.
           o Of the 1,160 who self-reported statewide, approximately 66% (769) had initially
             applied through the Motor Voter system.
In a deeper analysis of the years 2000 through 2017, we found 544 ballots were cast by the
identified registrants. During the period of 2000-2017, Pennsylvania held 35 primary and
general elections, with a total of 93.6 million ballots cast. The 544 ballots cast by possible non-
citizens represented approximately 0.00000581 percent of those ballots.

Data prior to 2000 is not reliable for these purposes, because of differences in the way the 67
counties captured and reported this information in their legacy databases.

This Administration has undertaken substantial efforts to strengthen the front-end processes at
PennDOT to eliminate inadvertent registrations by non-citizens.
The most significant improvement is that the Department has authorized PennDOT to
reconfigure the Motor Voter process to prevent non-citizens from ever being offered the voter
registration screens. That means individuals who have been determined to be non-citizens as
part of their PennDOT transaction will no longer be able to register to vote, inadvertently or
otherwise, at PennDOT. This change is already underway and will take approximately three to
four months to deploy at PennDOT locations throughout the state.
Additionally, in August 2016, the Department, in close collaboration with PennDOT, changed
the order of the Motor Voter screens to more prominently display the citizenship question. The
citizenship requirement is now displayed as a stand-alone question on the first screen after the
applicant selects his or her desired language. Previously, there were at least three Motor Voter
screens before the applicant was asked if he or she is a U.S. citizen, and the citizenship question
was one of multiple eligibility questions on a single screen.
Finally, the Motor Voter registration screens have been translated into 12 additional languages
– the screens were previously only available in English and Spanish.
Besides the enhancements to the Motor Voter process, the Department also updated the
online voter registration (OVR) form to highlight and emphasize the eligibility requirements to
register to vote.
The Department is in the process of establishing a voter registration guidance working group
that includes key stakeholders. Evaluation of the voter registration process will be one of its
primary focuses.
Finally, the Department is initiating a public information campaign, with the assistance of key
stakeholders, to ensure that non-citizens are aware they may not register. One goal will be to
raise awareness of potential penalties.

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The Department is committed to researching and disseminating best practices and guidance to
the counties on tools to conduct list maintenance. I cannot stress enough the substantial steps
the Department has taken and continues to take to increase the integrity of the voter rolls,
while also protecting the right of every eligible citizen to vote.




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